    Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 1 of 10 PageID #:745




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

DERRICK L. HAMILTON,                       )
                                           )
              Plaintiff,                   )
                                           )      No. 19 C 554
       v.                                  )
                                           )      Judge John Z. Lee
LOANCARE, LLC,                             )
                                           )
              Defendant.                   )

                                         ORDER

       Plaintiff Derrick Hamilton has filed a motion for class certification. For the

reasons set forth below, the motion [95] is denied without prejudice.

                                   I.     Background1

       On January 10, 2013, Hamilton executed a mortgage and note in favor of

United Security Financial Corp. (“United”), secured by real property located in

Yorkville, Illinois. Am. Class Action Compl. ¶¶ 6–7, ECF No. 15. Hamilton later

defaulted on the debt secured by the mortgage and note, and on January 23, 2015,

United initiated foreclosure proceedings on the property.           Id. ¶ 9. United then

transferred the debt to Lenderlive Network, Inc. (“Lenderlive”). Id. ¶ 10.

       Five days after United initiated foreclosure proceedings, on January 28, 2015,

Hamilton filed for Chapter 13 bankruptcy in the United States Bankruptcy Court for

the Northern District of Illinois. Id. ¶ 11. In his Chapter 13 plan, Hamilton expressed

his intention to surrender the property to Lenderlive in full satisfaction of its claims.



1      The following facts are undisputed for purposes of this motion, unless otherwise noted.
  Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 2 of 10 PageID #:746




Id. ¶ 12. The bankruptcy court confirmed the plan on March 27, 2015, binding

Lenderlive to its terms. Id. ¶ 13. Hamilton performed his duties as set forth in the

plan, and on September 8, 2015, the bankruptcy court entered an order granting him

a discharge, including as to his personal liability on the debt. Id. ¶¶ 14–15.

      In the meantime, on April 1, 2016, while the foreclosure action was still

pending in the Circuit Court of Kendall County, Lenderlive transferred the servicing

rights to the debt to RoundPoint Mortgage Servicing Corp. (“RoundPoint”). Id. ¶ 16.

The circuit court entered a judgment of foreclosure on December 16, 2016. Id. ¶ 17.

RoundPoint then transferred the servicing rights to Defendant LoanCare, LLC

(“LoanCare”) on May 2, 2017. Id. ¶ 18. During the transition, RoundPoint provided

LoanCare with notice of Hamilton’s bankruptcy discharge. Id. ¶ 19. The property

was sold at a public sale by the Sheriff of Kendall County on July 10, 2017. Id. ¶ 21.

      Many months later, on December 13, 2018, LoanCare sent a letter to

Hamilton pertaining to the mortgage loan that read as follows:

             After the application of proceeds from the sale of the above
             listed property to your mortgage loan balance, there
             remains a deficiency of $49,867.54. The deficiency
             exceeds the maximum home loan guaranty amount
             authorized by the United States Department of Veterans
             Affairs (“VA”) for your loan, which is $36,000.00.

Id. ¶¶ 22–23 (emphasis added). Although Hamilton’s complaint is unclear on this

point, he tacitly concedes in his reply brief—as he did in responding to LoanCare’s

motion to dismiss earlier in the case—that the deficiency letter was addressed and

sent to his lawyer (the same one representing him now). See Def.’s Resp. Opp’n Mot.

Class Cert. at 4–5, ECF No. 105; Pl.’s Reply Supp. Mot. Class Cert. at 5–7, ECF No.

                                          2
  Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 3 of 10 PageID #:747




115; see also 8/22/19 Mem. Op. and Order at 11, ECF No. 31 (Rowland, M.J.) (noting

Hamilton’s same concession in resolving the motion to dismiss).

      Hamilton brought this action on January 28, 2019, on behalf of himself and a

putative class. See Class Action Compl, ECF No. 1. The amended class action

complaint alleges that LoanCare violated the Fair Debt Collections Practices Act, 15

U.S.C. § 1692e(2) and e(10), by falsely representing in its letter that Hamilton was

liable for a deficiency balance following the foreclosure sale of the property, even

though it knew or should have known that any such liability had been extinguished

by his bankruptcy discharge. See Am. Class Action Compl. ¶¶ 29–31, 52.

      Hamilton has filed a motion to certify the putative class pursuant to Rules

23(a) and 23(b)(3). He defines the class as:

             All natural persons residing in the United States of
             America who (a) within the one (1) year prior to the filing
             of the original complaint and during its pendency (b)
             received letter(s) with identical language in Defendant’s
             letter to Plaintiff (c) after obtaining a Chapter 7 or Chapter
             13 bankruptcy discharge (d) in a bankruptcy case in which
             the mortgage loan was discharged.

Pl.’s Mot. Class. Cert. ¶ 4, ECF No. 95; see also Am. Class Action Compl. ¶ 55.

                                  II.    Discussion

      Under Rule 23(a), there are four prerequisites to class certification: “(1) the

class is so numerous that joinder of all members is impracticable; (2) there are

questions of law or fact common to the class; (3) the claims . . . of the representative

parties are typical of the claims . . . of the class; and (4) the representative parties

will fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a).


                                           3
   Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 4 of 10 PageID #:748




      Once these prerequisites are satisfied, a class action may be maintained

under Rule 23(b)(3) if, and only if, “the court finds that the questions of law or fact

common to class members predominate over any questions affecting only individual

class members, and that a class action is superior to other methods for fairly and

efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

      “Rule 23 does not set forth a mere pleading standard.” Wal-Mart Stores, Inc.

v. Dukes, 564 U.S. 338, 350 (2011). Rather, “a party seeking to maintain a class

action ‘must affirmatively demonstrate his compliance’ with Rule 23,” including by

“evidentiary proof.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quoting

Dukes, 564 U.S. at 350). The named plaintiff bears the burden of establishing each

requirement of Rule 23 by a preponderance of the evidence. Messner v. Northshore

Univ. Health Sys., 669 F.3d 802, 811 (7th Cir. 2012). “Failure to meet any one of

the[se] requirements . . . precludes certification of a class.”       Harriston v. Chi.

Tribune Co., 992 F.2d 697, 703 (7th Cir. 1993); see also Dukes, 564 U.S. at 350–51

(certification is proper only if “the trial court is satisfied, after a rigorous analysis,

that the prerequisites of Rule 23(a) have been satisfied” (cleaned up)).

      Here, the basic obstacle to certification is that Hamilton’s proposed class

definition is too broad. Whereas the class includes anyone who “received” a deficiency

letter with identical language to Hamilton’s after obtaining a bankruptcy discharge,

Pl.’s Mot. Class. Cert. ¶ 4, Hamilton only received his own deficiency letter indirectly

because it was addressed and sent to his attorney in the first instance.




                                            4
    Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 5 of 10 PageID #:749




       The distinction between whether a representation challenged under § 1692e

was made directly to a debtor or to a debtor’s attorney matters. In cases when the

debtor is the recipient, the relevant standard is whether the representation would

mislead or deceive “an unsophisticated consumer.” Ruth v. Triumph P’ships, 577 F.3d

780, 799–800 (7th Cir. 2009). “When a case ‘involves alleged false representations to

a debtor’s attorney,’” by contrast, “the Seventh Circuit has found that the relevant

inquiry is ‘whether a competent attorney, even if he is not a specialist in consumer

debt law, would be deceived by’ the representation,” as then Magistrate Judge

Rowland observed in her order denying LoanCare’s motion to dismiss.2 8/22/19 Mem.

Op. and Order at 11, ECF No. 31 (quoting Bravo v. Midland Credit Mgmt., Inc., 812

F.3d 599, 603 (7th Cir. 2016)); cf. Evory v. RJM Acquisitions Funding LLC, 505 F.3d

769, 774 (7th Cir. 2007) (“the ‘unsophisticated consumer’ standpoint is inappropriate

for judging communications with lawyers”).

       Hamilton contends that Bravo does not apply and that Judge Rowland erred

in concluding otherwise. Relying on Mehling v. Fullett Rosenlund Anderson PC, he

contends that “where a debtor alleges . . . that the communication was false, as

opposed to misleading or deceptive, the ‘unsophisticated consumer’ standard

governs—no matter the targeted recipient.” See No. 16 C 5921, 2016 WL 7231931, at

*4 (N.D. Ill. Dec. 12, 2016) (quoting Caprel v. Specialized Loan Servicing, Inc., No. 15

C 9145, 2016 WL 4678313, at *6 (N.D. Ill. Sept. 7, 2016) (in turn citing Evory, 505



2      This case was reassigned to this Court after Judge Rowland was confirmed as a United
States District Judge for the Northern District of Illinois and Judge Castillo retired. See
8/27/19 Exec. Committee Order, ECF No. 35; 9/30/19 Exec. Committee Order, ECF No. 44.
                                            5
  Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 6 of 10 PageID #:750




F.3d at 775)). And because Hamilton alleges that the challenged representation in

LoanCare’s deficiency letter was false, as opposed to merely misleading or deceptive,

he asserts that the ‘unsophisticated consumer” governs his claim as well.

      The Court is unpersuaded. Notably, both Mehling and Caprel rely on a passage

in Evory that does not bear the weight they place on it. In Evory, the Seventh Circuit

consolidated four appeals raising the question (among others) of “[w]hether

communications to lawyers are subject to sections 1692d through 1692f.” 505 F.3d at

772. The court answered this question in the affirmative, albeit with the qualification

that “the standard for determining whether particular conduct violates the statute is

different when the conduct is aimed at a lawyer than when it is aimed at a consumer.”

Id. at 774. In particular, the court concluded that “a representation by a debt collector

that would be unlikely to deceive a competent lawyer, even if he is not a specialist in

consumer debt law, should not be actionable.” Id. at 775. In a paragraph on which

Hamilton’s authorities depend, the court then discussed the case of a false, as opposed

to deceptive or misleading, representation, stating that, because a false claim of fact

“may be as difficult for a lawyer to see through as a consumer,” a representation

whose falsity a lawyer “might be unable to discover . . . without an investigation that

he might be unable . . . to undertake . . . . would be actionable whether made to the

consumer directly, or . . . through his lawyer.” Id.

      Whatever standard Evory meant to convey by this hypothetical, the Seventh

Circuit appears to have definitively resolved the matter in Bravo, which holds that

“with regard to ‘false, deceptive, or misleading representations’ in violation of § 1692


                                           6
    Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 7 of 10 PageID #:751




of the FDCPA, the standard is . . . whether a competent attorney would be deceived,

even if he is not a specialist in consumer law.” See 812 F.3d at 603. In so stating, the

court rejected the argument that “every false statement to an attorney is a per se

violation of § 1692e” under Evory. Id. Instead, the court characterized Evory as

holding that “the ‘competent attorney’ standard applies regardless of whether a

statement is false, misleading or deceptive.” Id. (citing Evory, 505 F.3d at 775). To

dispel any doubt, the court noted that the allegations “involve[d] alleged false

representations to a debtor’s attorney” and proceeded to apply the ‘competent

attorney’ standard, concluding that such a recipient “would . . . not be deceived” by

the letters requesting payments on debts that had been settled. Id.

       To the extent Mehling or Caprel suggest otherwise, the Court respectfully

disagrees with their holdings. Both decisions read too much into Evory, which simply

does not stand for the proposition that the ‘unsophisticated consumer’ standard

governs any communication alleged to have been false. Compare Mehling, 2016 WL

7231931, at *4, and Caprel, 2016 WL 4678313, at *6, with Evory, 505 F.3d at 775.

And Caprel failed to reconcile its reading of Evory with the contrary teaching of

Bravo, which the court only cited in an unrelated section of its decision. See 2016 WL

4678313, at *7. Although Mehling did cite Bravo within its discussion of the relevant

standard, the court said nothing to explain why that decision—which dealt squarely

with alleged false communications—does not apply to false communications.3 See

2016 WL 7231931, at *3. As for Hamilton, he ignores Bravo entirely.


3      The Court notes that Judge Castillo (retired), who authored Mehling, himself sang a
different tune more recently in Grajny v. Credit Control, LLC. See No. 18 C 2719, 2018 WL
                                            7
   Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 8 of 10 PageID #:752




       Because the legal standard differs depending on whether the recipient of the

false information is a lawyer or a consumer, Hamilton is unable to satisfy several of

Rule 23(a)’s prerequisites. To satisfy typicality, the named plaintiff’s claims “must

have the ‘same essential characteristics of the claims of the class at large.’” McGarvey

v. Citibank (S. Dakota) N.A., No. 95 C 123, 1995 WL 404866, at *4 (N.D. Ill. July 5,

1995) (quoting De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir.

1983)). In other words, the claims must “arise[] from the same event or practice or

course of conduct” and share “the same legal theory.” Rosario v. Livaditis, 963 F.2d

1013, 1018 (7th Cir. 1992) (quoting De La Fuente, 713 F.3d at 232). But this is not

the case when, due to “an overbroad class definition,” proof of the named plaintiff’s

claims “would not necessarily prove all the proposed class members’ claims.”

McGarvey, 1995 WL 404866, at *4.

       Moreover, the fact that Hamilton’s claim faces a separate standard than those

of absent class members who received letters directly raises a problem with adequacy

of representation under Rule 23(a)(4) due to the conflict between what each set of

claims must establish to prevail. Cf. Rosario, 963 F.3d at 1018 (“A class is not fairly

and adequately represented if class members have . . . conflicting claims.”). In other

words, Hamilton cannot adequately represent class members whose claims are

subject to a distinct—and even less demanding—legal standard. Hamilton’s view

that typicality and adequacy or representation are satisfied because the claims all

“arise from the identical conduct . . . and are brought under the identical legal theory”


4905019, at *3 (N.D. Ill. Oct. 9, 2018) (citing Bravo for the proposition that “a communication
to a debtor’s attorney” is reviewed under the ‘competent attorney’ standard).
                                              8
  Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 9 of 10 PageID #:753




ignores these critical distinctions by framing the relevant law and facts at too high a

level of generality. See Pl.’s Reply Supp. Mot. Class Cert. at 7.

      It is, of course, “well within the Court’s discretion to modify [a] proposed class

definition” in order to remove “overbreadth concerns.” Wilson v. City of Evanston,

No. 14 C 8347, 2017 WL 3730817, at *6 (N.D. Ill. Aug. 30, 2017) (Lee, J.). But doing

so would not be fruitful at this time because Hamilton points to no evidence showing

how many individuals would satisfy a properly narrowed class definition. Cf. Pl.’s

Mem. Supp. Mot. Class Cert., Ex. A, Def.’s Resp. Pl.’s Interrogs. ¶ 10, ECF No. 96-1

(stating that forty-one individuals meet the proposed overbroad definition, without

shedding light on how many had letters sent to an attorney); Mulvania v. Sheriff of

Rock Island Cty., 850 F.3d 849, 859 (7th Cir. 2017) (“While there is no magic number

that applies to every case, a forty-member class is often regarded as sufficient to meet

the numerosity requirement.”). Until Hamilton can demonstrate a sufficient number

of individuals whose claims are governed by the same legal standard as his, he cannot

establish that a properly narrowed class would meet the numerosity requirement of

Rule 23(a).




                                           9
  Case: 1:19-cv-00554 Document #: 137 Filed: 09/20/21 Page 10 of 10 PageID #:754




                               III.   Conclusion

      For the reasons set forth above, Hamilton’s motion for class certification is

denied without prejudice. Hamilton may renew the motion, subject to a properly

narrowed class definition, after LoanCare has disclosed the number of putative

members of such a class, which it has promised to do within three business days of

this order.



IT IS SO ORDERED.                     ENTERED: 9/20/21



                                      __________________________________
                                      John Z. Lee
                                      United States District Judge




                                        10
